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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                          Chapter 11

FTX TRADING LTD., et al., 1                                     Case No. 22-11068 (JTD)

         Debtors.                                               (Jointly Administered)

                                                                Hearing Date: Sept. 12, 2024 at 1:00 p.m. (ET)
                                                                Obj. Deadline: Sept. 5, 2024 at 4:00 p.m. (ET)



             FIFTH JOINT MOTION OF THE DEBTORS AND THE OFFICIAL
              COMMITTEE OF UNSECURED CREDITORS FOR AN ORDER
              AUTHORIZING THE MOVANTS TO REDACT OR WITHHOLD
              CERTAIN CONFIDENTIAL INFORMATION OF CUSTOMERS

                 FTX Trading Ltd. and its affiliated debtors and debtors-in-possession (collectively,

the “Debtors”) and the Official Committee of Unsecured Creditors appointed in the above-

captioned cases (the “Committee” and, together with the Debtors, the “Movants”) hereby jointly

submit this motion (this “Motion”) for entry of an order, substantially in the form attached hereto

as Exhibit A (the “Order”), pursuant to sections 105(a) and 107 of title 11 of the United States

Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”) and rule 9018 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), authorizing each of the Movants to redact the

names, addresses and e-mail addresses of all of the Debtors’ customers from any filings with the

Court or made publicly available in these Chapter 11 Cases (as defined below) through and

including the later of (x) 90 days from the date of entry of the Order and (y) the Effective Date (as

such term is defined in the Debtors’ First Amended Joint Chapter 11 Plan of Reorganization of


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    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
    Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
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FTX Trading Ltd. and Its Debtor Affiliates [D.I. 22165] (as amended, supplemented or modified

from time to time, the “Plan”)). In support of the Motion, the Movants respectfully state as follows:

                                     Preliminary Statement

               1.       As the Debtors move steadily and swiftly towards Plan confirmation and

distributions to customers and other creditors, the Debtors continue to explore potential sources of

value for the estates from monetization of the customer lists associated with the FTX exchanges.

The Movants therefore request that the Court determine, as it has five times prior, that the Debtors’

customer lists have value and are entitled to continued protection pursuant to section 107(b) of the

Bankruptcy Code.

               2.       As Kevin Cofsky, the Debtors’ investment banker at Perella Weinberg

Partners, has previously testified—and will testify at any hearing on this Motion, if necessary—

the value of the customer lists is due to the confidential nature of the customer names and

addresses. Because the monetization process remains ongoing, nothing has changed since the

Debtors’ prior request in terms of needing to preserve the confidential nature of the customer lists

in order to realize their value. The immediate release of the Debtors’ customer names and

addresses would be value-destructive to the estates and harmful to the Debtors’ ongoing efforts to

monetize their value.

               3.       Accordingly, the Debtors request an additional extension to preserve the

confidentiality of customer names and addresses through and including the later of (x) 90 days

from the date of entry of the Order and (y) the Effective Date of the Plan. The Movants request

that the Court enter the Order, and they will again discuss with the U.S. Trustee and the Media

Intervenors about resolving the Motion without a hearing.




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                                               Background

                4.       On November 11 and November 14, 2022 (as applicable, the “Petition

Date”), the Debtors filed with the United States Bankruptcy Court for the District of Delaware (the

“Court”) voluntary petitions for relief under the Bankruptcy Code. The Debtors continue to

operate their businesses and manage their properties as debtors-in-possession pursuant to

sections 1107(a) and 1108 of the Bankruptcy Code. Joint administration of the Debtors’ cases (the

“Chapter 11 Cases”) was authorized by the Court by entry of an order on November 22, 2022 [D.I.

128]. On December 15, 2022, the Office of the United States Trustee for the District of Delaware

(the “U.S. Trustee”) appointed the Official Committee of Unsecured Creditors pursuant to

section 1102 of the Bankruptcy Code [D.I. 231] (the “Committee”).

                5.       Additional factual background relating to the Debtors’ businesses and the

commencement of these Chapter 11 Cases is set forth in the Declaration of John J. Ray III in

Support of Chapter 11 Petitions and First Day Pleadings [D.I. 24], the Declaration of Edgar W.

Mosley II in Support of Chapter 11 Petitions and First Day Pleadings [D.I. 57], the Supplemental

Declaration of John J. Ray III in Support of First Day Pleadings [D.I. 92] and the Supplemental

Declaration of Edgar W. Mosley II in Support of First Day Pleadings [D.I. 93].

                                Facts Specific to the Relief Requested

                6.       On November 19, 2022, the Debtors filed the Motion of Debtors for Entry

of Interim and Final Orders (I) Authorizing the Debtors to Maintain a Consolidated List of

Creditors in Lieu of Submitting a Separate Matrix for Each Debtor, (II) Authorizing the Debtors

to Redact or Withhold Certain Confidential Information of Customers and Personal Information

of Individuals and (III) Granting Certain Related Relief [D.I. 45] (the “Original Motion”). 2


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    Capitalized terms not otherwise defined herein shall be given the meanings ascribed to them in the Original
    Motion.



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                 7.    On November 23, 2022, the Court granted the Original Motion on an

interim basis and entered the Interim Order (I) Authorizing the Debtors to Maintain a

Consolidated List of Creditors in Lieu of Submitting a Separate Matrix for Each Debtor,

(II) Authorizing the Debtors to Redact or Withhold Certain Confidential Information of Customers

and Personal Information of Individuals on an Interim Basis and (III) Granting Certain Related

Relief [D.I. 157].

                 8.    Objections to the Original Motion being granted on a final basis were

interposed by the U.S. Trustee [D.I. 200, 362] and a group of media outlets [D.I. 195] (the “Media

Intervenors”).

                 9.    The Committee filed a joinder in support of the Debtors’ Original Motion

being granted on a final basis [D.I. 408].

                 10.   The Court held a hearing on the Original Motion on January 11, 2023 (the

“January 11 Hearing”). At the January 11 Hearing, the Court granted the Original Motion on a

final basis and, on January 20, 2023, entered the Final Order (I) Authorizing the Debtors to

Maintain a Consolidated List of Creditors in Lieu of Submitting a Separate Matrix for Each

Debtor, (II) Authorizing the Debtors to Redact or Withhold Certain Confidential Information of

Customers and Personal Information of Individuals on a Final Basis and (III) Granting Certain

Related Relief [D.I. 545] (the “Original Order”).

                 11.   The Original Order authorized the Debtors, among other things, to redact

from all public filings: (a) addresses and e-mail addresses of their creditors and equity holders who

are natural persons on a permanent basis; and (b) names, addresses and e-mail addresses of their

customers, including those customers who are not natural persons, until the “Redaction Deadline,”

which as defined therein, was April 20, 2023. (Original Order ¶¶ 4-6.)




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               12.    The Original Order was entered with an express reservation of rights of the

Debtors, the Committee and all other parties-in-interest to seek an extension of the Redaction

Deadline, or to request authorization to redact any personal information of customers, creditors or

equity holders on any other grounds. (Id. ¶ 7.)

               13.    On April 20, 2023, the Debtors filed the Joint Motion of the Debtors and

the Official Committee of Unsecured Creditors for an Order Authorizing the Movants to Redact

or Withhold Certain Confidential Information of Customers and Personal Information of

Individuals [D.I. 1324] (the “First Extension Motion”).

               14.    On May 2, 2023, the Media Intervenors filed an objection to the First

Extension Motion [D.I. 1406]. On May 9, 2023, the U.S. Trustee also filed an objection to the

First Extension Motion [D.I. 1467].

               15.    The Court held an evidentiary hearing on the First Extension Motion on

June 8, 2023 and June 9, 2023 (collectively, the “June Hearing”). At the June Hearing, Mr. Cofsky

testified before the Court that the Debtors’ customer lists are valuable to the Debtors and that

disclosure of the names and addresses on those lists would jeopardize the Debtors’ ability to

maximize value for stakeholders. (June 8, 2023 Hr’g Tr. 143:7-8; 152:1-17.) The Court credited

Mr. Cofsky’s testimony and granted the First Extension Motion with respect to the Movants’

request to redact customer names pursuant to 107(b) of the Bankruptcy Code for an additional 90

days. Among other things, the Court further granted the First Extension Motion with respect to

the Movants’ request to redact the customer names of individuals under 107(c) of the Bankruptcy

Code on a permanent basis. (June 9, 2023 Hr’g Tr. 156:14 – 158:21.)

               16.    On June 15, 2023, the Court entered the Order Authorizing the Movants to

Redact or Withhold Certain Confidential Information of Customers and Personal Information of




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Individuals [D.I. 1643] (the “First Extension Order”). The First Extension Order authorized the

Movants, pursuant to section 107(c)(1) of the Bankruptcy Code, to permanently redact the names

of all customers who are natural persons from all filings with the Court or made publicly available

in these Chapter 11 Cases in which disclosure would indicate such person’s status as a customer.

(First Extension Order ¶ 4.) The First Extension Order also authorized the Movants to, pursuant

to 107(b)(1) of the Bankruptcy Code, redact the names, addresses and e-mail addresses of all of

the Debtors’ customers from all filings with the Court or made publicly available in these Chapter

11 Cases; provided, however, that the authorization to redact the names of all customers, and to

redact the names, addresses and e-mail addresses of customers who are not natural persons, was

only granted until the date that was 90 days from the date of the entry of the First Extension Order

(such date, the “Extended Redaction Deadline”). The Extended Redaction Deadline was set to

expire on September 13, 2023. (Id. ¶ 2.)

               17.     On September 13, 2023, the Debtors filed the Second Joint Motion of the

Debtors and the Official Committee of Unsecured Creditors for an Order Authorizing the Movants

to Redact or Withhold Certain Confidential Information of Customers [D.I. 2508] (the “Second

Extension Motion”).

               18.     On September 6, 2023, the Media Intervenors filed an objection to the

Second Extension Motion [D.I. 2712] and on September 27, 2023, the U.S. Trustee filed an

objection to the Second Extension Motion [D.I. 2725]. Both objections merely incorporated the

previously filed objections by these parties.

               19.     The Court held an evidentiary hearing on the Second Extension Motion on

October 24, 2023 (the “October Hearing”). At the October Hearing, Mr. Cofsky again testified to

the fact that the value of customers to the Debtors’ estate is “high and very important.” (October




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24, 2023 Hr’g Tr. 24:5-7.) Mr. Cofsky testified that the customer lists are a source of value (i) if

the Debtors were to sell the exchange assets, (ii) if the Debtors were to reorganize the exchanges

or (iii) on a standalone basis, if the lists were to be monetized simply as information. (Id. 24:8-

16.) At the October Hearing, the Court granted the Second Extension Motion, stating that the

“uncontroverted evidence presented today is that it does have some value.” (Id. 58:9-11.)

               20.     Accordingly, on October 24, 2023, the Court entered the Second Order

Authorizing the Movants to Redact or Withhold Certain Confidential Information of Customers

[D.I. 3353] (the “Second Extension Order”). The Second Extension Order authorized the Debtors

and the Committee, pursuant to Section 107(b)(1) of the Bankruptcy Code, to redact the names,

addresses and e-mail addresses of all of the Debtors’ customers from all filings with the Court or

made publicly available in these Chapter 11 Cases; provided, however, that the authorization to

redact the names, addresses and e-mail addresses of customers who are not natural persons was

only until the date that was 90 days from the date of the entry of the Second Extension Order (such

date, the “Second Extended Redaction Deadline”) and provided, further, that the authorization to

redact the names of customers, whether they are natural persons or entities, and the addresses of

customers who are not natural persons, is limited to those documents in which disclosure would

indicate the status of such person or entity as a customer. (Second Extension Order ¶ 2.)

               21.     Following the request of the Court at the October Hearing to “find some

way to avoid another one of these hearings in 90 days where we don’t have to go through and hear

the same testimony again” (October 24, 2023 Hr’g Tr. 59:16-18), the Debtors contacted the U.S.

Trustee and the Media Intervenors, requesting that such parties not object to a further extension of

the Second Extended Redaction Deadline for an additional 90 days, with all parties’ rights

reserved. The U.S. Trustee and the Media Intervenors declined to permit entry of an order on a




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consensual basis at that time, but the parties continued to discuss a resolution that would avoid the

need for another evidentiary hearing in connection with a further extension.

               22.     On January 22, 2024, the Movants filed the Third Joint Motion of the

Debtors and the Official Committee of Unsecured Creditors for an Order Authorizing the Movants

to Redact or Withhold Certain Confidential Information of Customers [D.I. 6153] (the “Third

Extension Motion”), requesting that the Court approve a 90-day extension of the Second Extended

Redaction Deadline to preserve the confidentiality and potential value of the Debtors’ customer

lists.

               23.     After the filing of the Third Extension Motion, following further

discussions with the U.S. Trustee and the Media Intervenors, on February 12, 2024, the Debtors

filed the Stipulation Regarding the Third Joint Motion of the Debtors and the Official Committee

of Unsecured Creditors for an Order Authorizing the Movants to Redact or Withhold Certain

Confidential Information of Customers [D.I. 7305] (the “First Stipulation”), pursuant to which,

among other things, the U.S. Trustee and the Media Intervenors agreed that the Court could rule

on the Third Extension Motion based on the existing record of the prior hearings and the filed

pleadings.

               24.     On February 13, 2024, the Court entered the Third Order Authorizing the

Movants to Redact or Withhold Certain Confidential Information of Customers [D.I. 7315] (the

“Third Extension Order”). The Third Extension Order, consistent with the Second Extension

Order, authorized the Debtors and the Committee, pursuant to Section 107(b)(1) of the Bankruptcy

Code, to redact the names, addresses and e-mail addresses of all of the Debtors’ customers from

all filings with the Court or made publicly available in these Chapter 11 Cases; provided, however,

that the authorization to redact the names, addresses and e-mail addresses of customers who are




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not natural persons was only until the date that is 90 days from the date of the entry of the Third

Extension Order (such date, the “Third Extended Redaction Deadline”) and provided, further, that

the authorization to redact the names of customers, whether they are natural persons or entities,

and the addresses of customers who are not natural persons, was limited to those documents in

which disclosure would indicate the status of such person or entity as a customer. (Third Extension

Order ¶ 2.)

                25.   On May 13, 2024, the Movants filed the Fourth Joint Motion of the Debtors

and the Official Committee of Unsecured Creditors for an Order Authorizing the Movants to

Redact or Withhold Certain Confidential Information of Customers [D.I. 14727] (the “Fourth

Extension Motion”), requesting that the Court approve a 90-day extension of the Third Extended

Redaction Deadline to preserve the confidentiality and potential value of the Debtors’ customer

lists.

                26.   After the filing of the Fourth Extension Motion, following further

discussions with the U.S. Trustee and the Media Intervenors, on May 29, 2024, the Debtors filed

the Stipulation Regarding the Fourth Joint Motion of the Debtors and the Official Committee of

Unsecured Creditors for an Order Authorizing the Movants to Redact or Withhold Certain

Confidential Information of Customers [D.I. 16164] (the “Second Stipulation”), pursuant to which,

among other things, the U.S. Trustee and the Media Intervenors agreed that the Court could rule

on the Fourth Extension Motion based on the existing record of the prior hearings and the filed

pleadings.

                27.   On May 30, 2024, the Court entered the Fourth Order Authorizing the

Movants to Redact or Withhold Certain Confidential Information of Customers [D.I. 16165] (the

“Fourth Extension Order”). The Fourth Extension Order, consistent with the Third Extension




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Order and the Second Extension Order, authorized the Debtors and the Committee, pursuant to

section 107(b)(1) of the Bankruptcy Code, to redact the names, addresses and e-mail addresses of

all of the Debtors’ customers from all filings with the Court or made publicly available in these

Chapter 11 Cases; provided, however, that the authorization to redact the names, addresses and e-

mail addresses of customers who are not natural persons is only until the date that is 90 days from

the date of the entry of the Fourth Extension Order (such date, the “Fourth Extended Redaction

Deadline”) and provided, further, that the authorization to redact the names of customers, whether

they are natural persons or entities, and the addresses of customers who are not natural persons, is

limited to those documents in which disclosure would indicate the status of such person or entity

as a customer. (Fourth Extension Order ¶ 2.) The Fourth Extended Redaction Deadline is set to

expire on August 28, 2024. 3

                                                  Jurisdiction

                 28.      The Court has jurisdiction to consider this Motion pursuant to 28 U.S.C.

§§ 157 and 1334 and the Amended Standing Order of Reference from the United States District

Court for the District of Delaware, dated February 29, 2012. This matter is a core proceeding

pursuant to 28 U.S.C. § 157(b). Venue is proper in the Court pursuant to 28 U.S.C. §§ 1408 and

1409. The statutory predicates for the relief requested herein are sections 105 and 107 of the

Bankruptcy Code and Bankruptcy Rule 9018. Pursuant to Local Rule 9013-1(f), the Movants each

consent to the entry of a final order or judgment by the Court in connection with this Motion to

the extent it is later determined that the Court, absent consent of the parties, cannot enter final

orders or judgments consistent with Article III of the United States Constitution.



3
    Pursuant to Local Rule 9006-2, the filing of this Motion prior to the expiration of the Fourth Extended Redaction
    Deadline shall automatically extend the Fourth Extended Redaction Deadline until the Court acts on this Motion
    without the necessity for entry of a bridge order.



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                                          Relief Requested

                 29.     By this Motion, the Movants request entry of the Order, substantially in the

  form attached hereto as Exhibit A, authorizing each of the Movants to redact the names, addresses

  and e-mail addresses of all of the Debtors’ customers from any filings with the Court or made

  publicly available in these Chapter 11 Cases through and including the later of (x) 90 days from

  the date of entry of the Order and (y) the Effective Date of the Plan; provided that the Debtors and

  the Committee, as applicable, will provide the U.S. Trustee and counsel to the Committee or the

  Debtors, as applicable, as well as certain other governmental parties, copies of unredacted filings

  upon request and any other party copies of unredacted filings upon order of the Court.

                                           Basis for Relief

I.       Cause Exists to Further Extend the Fourth Extended Redaction Deadline for an
         Additional 90 Days Pursuant to Section 107(b)(1) of the Bankruptcy Code.

                 30.     Section 107(b)(1) of the Bankruptcy Code requires bankruptcy courts, at the

  request of a party-in-interest, to “protect an entity with respect to a trade secret or confidential

  research, development, or commercial information.” 11 U.S.C. § 107(b)(1).              Pursuant to

  Bankruptcy Rule 9018, upon motion, “the court may make any order which justice requires . . . to

  protect the estate or any entity in respect of a trade secret or other confidential research,

  development, or commercial information.” Fed. R. Bankr. P. 9018.

                 31.     The Debtors have maintained, beginning in connection with the Original

  Motion, that their customer lists are a potentially significant source of value for their estates.

  (Original Mot. ¶ 12.) At the January 11 Hearing, Mr. Cofsky testified that as part of the Debtors’

  ongoing strategic review, his view is that there is value in the Debtors’ customer lists, and that

  whether the exchanges are sold or reorganized, value is maximized by ensuring that competitors

  are not able to solicit customers and prematurely move them to other platforms. (Jan. 11, 2023



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Hr’g Tr. 25:4-26:15.) Mr. Cofsky went on to testify that his view is that third parties will place

significant value on the Debtors’ customer lists in a sale process, and that maintaining the identity

of the customers without disclosure will give buyers confidence that what they are buying is

actually of value. (Id. at 30:21-31:5.)

               32.     The Court agreed. In granting the Original Motion on a final basis, the

Court stated that “I think it goes without saying that a customer list in any bankruptcy case is

something that is protected by 107(b) as a trade secret. Companies hold those things very closely

and don’t want them disclosed.” (Id. at 103:1-5.)

               33.     The Debtors then argued in connection with the First Extension Motion that

the customer lists remain an important asset of the Debtors’ estate and a potential source of value.

At the June Hearing, Mr. Cofsky again testified that the lists of customer names are

“extraordinarily valuable,” both in the context of a reorganization and of a sale. (June 8, 2023

Hr’g Tr. 142:13-19.) Mr. Cofsky further testified that, even if the Debtors are unable to reorganize

or sell their businesses, the customer lists themselves are likely to be of value to third parties—and

therefore a critical source of potential recovery for the Debtors’ customers and other creditors. (Id.

at 143:7-144:15.) If disclosure of the Debtors’ customer lists were to occur at this stage, Mr.

Cofsky testified that disclosure of names and addresses would negatively impact any effort to

monetize those assets. (Id. at 147:8-9.)

               34.     The Court again agreed. In granting the First Extension Motion with respect

to the Movants’ redaction request pursuant to section 107(b), the Court stated:

       I think the evidence presented was uncontroverted that customer identification has
       value. It has value to the Debtors’ estates. And under 107(b), the customer names
       constitute a trade secret… And as a result, those names can continue to be redacted
       for an additional 90 days while the Debtors continue to seek how they’re going to
       come out of these bankruptcies; if they’re going to sell the assets, including the




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       customer lists, or if they’re going to reorganize, in which case, they’re going to
       want the customer lists.

(June 9, 2023 Hr’g Tr. 156:16-25.)

               35.     In October 2023, the Debtors again met their evidentiary burden. The

Debtors argued in connection with Second Extension Motion that the customer lists remain an

important asset of the Debtors’ estate and a potential source of value. At the October Hearing, Mr.

Cofsky once again testified before the Court that the customer lists are a source of value to the

Debtors, regardless of whether the Debtors decide to sell the exchange assets, reorganize their

estates or monetize the lists on a standalone basis. (October 24, 2023 Hr’g Tr. 24:8-21). Mr.

Cofsky noted that “the exclusive access to those customer lists is a very important and has been a

critical element of… conversations” with certain counterparties. (Id. at 25:7-16.)

               36.     In granting the Second Extension Motion, the Court stated that:

       [O]nce again, the uncontroverted evidence presented today is that it does have
       some value. The evidence today was even stronger than it’s been in the past two
       hearings… Just as a matter of common sense, a platform without customers is
       nothing. So, it has to have value. The customer list has to have value… The
       objecting parties have still not brought forward any witness who can dispute what
       Mr. Cofsky has testified to.

(October 24, 2023 Hr’g Tr. 58:8-24.)

               37.     The Debtors explained in connection with the Third Extension Motion that

Mr. Cofsky was prepared to again testify as to the value of the Debtors’ customer lists and the need

to keep them confidential. But the Debtors further asserted the Third Extension Motion could be

granted without a further evidentiary hearing. On February 12, 2024, the Movants, the U.S.

Trustee and the Media Intervenors entered into the First Stipulation pursuant to which, among

other things, the parties agreed that the Court could rule on the Third Extension Motion based on




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the existing record of prior hearings and the filed pleadings. The Court entered the Third Extension

Order without a hearing the very next day.

               38.     The Debtors again explained in connection with the Fourth Extension

Motion that Mr. Cofsky was prepared to testify as to the value of the Debtors’ customer lists and

the continuing need to keep them confidential. As with the Third Extension Motion, the Debtors

asserted that the Fourth Extension Motion could be granted without a further evidentiary hearing.

On May 29, 2024, the Movants, the U.S. Trustee and the Media Intervenors entered into the Second

Stipulation, which, consistent with the First Stipulation, among other things, provided that the

Court could, if it determined appropriate, rule on the Fourth Extension Motion based on the

existing record of prior hearings and the filed pleadings. Once again, the Court entered the Fourth

Extension Order without a hearing the very next day.

               39.     Since entry of the Fourth Extension Order, the facts and, accordingly, the

Debtors’ position with respect to the potential value of the customer lists, have not changed. As

described in the Disclosure Statement for Debtors’ Joint Chapter 11 Plan of Reorganization of

FTX Trading Ltd. and its Affiliated Debtors and Debtors-in-Possession [D.I. 19143] (the

“Disclosure Statement”), the Debtors continue to explore monetization options for their customer

lists on a standalone basis even in the absence of a reorganization, sale or merger of the FTX

exchanges. If necessary, Mr. Cofsky is prepared to testify once again at any hearing with respect

to the Motion that the need to redact all customer names and addresses from the public record in

order to preserve value for the Debtors’ estates remains ongoing, consistent with the testimony

provided in October 2023. In addition, Mr. Cofsky would testify that the Debtors continue to

explore options to maximize value for stakeholders, and have not yet made a decision with respect

to the best path to realize value from the customer lists.




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                40.     The comprehensive record established over the entirety of these Chapter 11

Cases, without any evidence to the contrary ever being offered by any objector, is more than

sufficient for the Court to enter the Order and further extend the Fourth Extended Redaction

Deadline through and including the later of (x) 90 days from the date of entry of the Order and (y)

the Effective Date of the Plan to permit the Debtors’ monetization efforts with respect to their

customer lists to continue unimpeded.

                41.     The value of the Debtors’ customer lists is no less an important asset of the

Debtors today than it was at the time the Court entered any of its prior orders authorizing the

redaction of customer information. Accordingly, the Movants request at this time a further

extension of the Fourth Extended Redaction Deadline through and including the later of (x) 90

days from the date of entry of the Order and (y) the Effective Date of the Plan with respect to all

customer names, addresses and e-mail addresses to preserve the value of the Debtors’ customer

lists for the benefit of the Debtors’ stakeholders. 4

                                                Notice

                42.     Notice of this Motion has been provided to: (a) the U.S. Trustee; (b) the

Media Intervenors; (c) the Securities and Exchange Commission; (d) the Internal Revenue Service;

(e) the United States Department of Justice; (f) the United States Attorney for the District of

Delaware; and (g) to the extent not listed herein, those parties requesting notice pursuant to

Bankruptcy Rule 2002. The Movants submit that, in light of the nature of the relief requested, no

other or further notice need be provided.




4
    The Debtors intend to discuss with the U.S. Trustee and the Media Intervenors entry into an agreement
    similar to the First Stipulation and the Second Stipulation to avoid the need for another evidentiary
    hearing with respect to the relief requested.


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                                             Conclusion

               WHEREFORE, for the reasons set forth herein, the Movants respectfully request

that the Court (a) enter the Order, substantially in the form attached hereto as Exhibit A, and

(b) grant such other and further relief as is just and proper.


 Dated: August 28, 2024                           LANDIS RATH & COBB LLP
        Wilmington, Delaware
                                                  /s/ Kimberly A. Brown
                                                  Adam G. Landis (No. 3407)
                                                  Kimberly A. Brown (No. 5138)
                                                  Matthew R. Pierce (No. 5946)
                                                  919 Market Street, Suite 1800
                                                  Wilmington, Delaware 19801
                                                  Telephone: (302) 467-4400
                                                  Facsimile: (302) 467-4450
                                                  E-mail: landis@lrclaw.com
                                                          brown@lrclaw.com
                                                          pierce@lrclaw.com

                                                  -and-

                                                  SULLIVAN & CROMWELL LLP

                                                  Andrew G. Dietderich (admitted pro hac vice)
                                                  James L. Bromley (admitted pro hac vice)
                                                  Brian D. Glueckstein (admitted pro hac vice)
                                                  Alexa J. Kranzley (admitted pro hac vice)
                                                  125 Broad Street
                                                  New York, NY 10004
                                                  Telephone: (212) 558-4000
                                                  Facsimile: (212) 558-3588
                                                  E-mail: dietdericha@sullcrom.com
                                                           bromleyj@sullcrom.com
                                                           gluecksteinb@sullcrom.com
                                                           kranzleya@sullcrom.com

                                                  Counsel for the Debtors and Debtors-in-Possession




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Dated: August 28, 2024                YOUNG CONAWAY STARGATT &
       Wilmington, Delaware           TAYLOR, LLP

                                      /s/ Robert F. Poppiti, Jr.
                                      Matthew B. Lunn (No. 4119)
                                      Robert F. Poppiti, Jr. (No. 5052)
                                      1000 North King Street
                                      Wilmington, DE 19801
                                      Telephone: (302) 571-6600
                                      Facsimile: (302) 571-1253
                                      Email: mlunn@ycst.com
                                              rpoppiti@ycst.com

                                      -and-

                                      PAUL HASTINGS LLP
                                      Kristopher M. Hansen*
                                      Kenneth Pasquale*
                                      Gabriel E. Sasson*
                                      Isaac S. Sasson*
                                      John F. Iaffaldano*
                                      200 Park Avenue
                                      New York, NY 10166
                                      Telephone: (212) 318-6000
                                      Facsimile: (212) 319-4090

                                      Email: krishansen@paulhastings.com
                                             kenpasquale@paulhastings.com
                                             gabesasson@paulhastings.com
                                             isaacsasson@paulhastings.com
                                             jackiaffaldano@paulhastings.com

                                      *Admitted pro hac vice

                                      Counsel to the Official Committee of Unsecured
                                      Creditors




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